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    13
                                    UNITED STATES DISTRICT COURT
    14
                                   CENTRAL DISTRICT OF CALIFORNIA
    15                                   SOUTHERN DIVISION
    16      Blue Spike, LLC,                         CASE NO.: 8:17-cv-1172-DOC-KES
    17                         Plaintiff,            Hon. David O. Carter
    18      v.                                       APPLICATION FOR LEAVE TO
                                                     FILE UNDER SEAL
    19      VIZIO, Inc.,
                                                     [Filed concurrently with: Joint
    20                         Defendant.            Stipulation Pursuant to L.R. 37-2
                                                     Regarding Defendant’s Refusal to
    21                                               Produce Documents for Inspection]
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    1            Pursuant to Local Rule 79-5.2.2, Plaintiff Blue Spike LLC (“Blue Spike”) and
    2      Defendant VIZIO, Inc., (“VIZIO”) jointly file this Application for Leave to File Under
    3      Seal. Included is a declaration by VIZIO (see Declaration of Rex Hwang In Support of
    4      Application For Leave To File Under Seal) (“Hwang Declaration”) establishing its
    5      good cause, or compelling reasons, why the presumption of public access in this case
    6      should be overcome. A proposed order, narrowly tailored to seal only the sealable
    7      material, and listing each document (or portion thereof) in table form is also included.
    8      Both redacted and unredacted versions of the documents proposed to be filed under seal
    9      are also included pursuant to the Local Rule.
  10             VIZIO requests that the following documents be filed under seal.
  11
  12                                DOCUMENTS TO BE SEALED.
  13           1. DECLARATION OF ERIC LOES, at 1, ¶3 (relating to VIZIO manufacturing).
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  15           2. JOINT STIPULATION PURSUANT TO L.R. 37-2, at 29 and fn. 12 (relating
  16              to confidential information from and about third party suppliers).
  17           3. DECLARATION OF STEVEN P. BASILEO IN SUPPORT OF VIZIO
  18              INC.’S OPPOSITION TO BLUE SPIKE’S MOTION TO COMPEL, at Exh K
  19              (relating to confidential information from and about third party suppliers).
  20
  21             Information contained in the above documents has been designated as
  22       confidential by VIZIO pursuant to the protective order in this matter, as these
  23       documents contain highly sensitive information from and about VIZIO’s suppliers.
  24       Hwang Declaration at ¶ 3.
  25             Specifically, the Joint Stipulation (pg. 29 at fn. 12) and Ex. K to the Basileo
  26       Declaration in Support Of VIZIO’s Portion of the Joint Stipulation (pg. 25, fn. 12)
  27       include third party confidential information whose disclosure to the public would
  28       potentially harm this third party. Hwang Declaration at ¶ 3, 4 (attesting to

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    1      confidentiality, and harm from public disclosure). To avoid this harm, these documents
    2      must be filed under seal.
    3            In addition, the Loes Declaration (at ¶3), the Joint Stipulation (at pg. 29), and
    4      Exh. K to the Basileo Declaration (at pgs. 24-25) contain VIZIO confidential
    5      information regarding its supply chain, the disclosure of which would harm VIZIO.
    6      Hwang Declaration at ¶ 3, 5 (attesting to confidentiality, and harm from public
    7      disclosure). To avoid this harm, these documents must be filed under seal.
    8            For these reasons, the parties request that the Court grant the instant Application.
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    1      JOINT SUBMISSION BY BLUE SPIKE, LLC AND VIZIO, INC.
    2
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    4
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